Case 3:11-cr-04153-WQH        Document 509        Filed 10/09/12   PageID.2013      Page 1 of 8



   1
   2
   3
   4
   5
   6
   7                           UNITED STATES DISTRICT COURT
   8                        SOUTHERN DISTRICT OF CALIFORNIA
   9
  10    UNITED STATES OF AMERICA,                              CASE NO. 11CR4153 WQH
  11                                        Plaintiff,
                vs.
  12
        ROBERT COTA, Jr. (10)                                  ORDER
  13                                      Defendant.
  14   HAYES, Judge:
  15           The matter before the Court is the motion to suppress wiretap evidence, or in the
  16   alternative, to request an evidentiary hearing filed by the Defendant Robert Cota, Jr. (ECF No.
  17   290).
  18                                    BACKGROUND FACTS
  19           On September 15, 2011, the federal grand jury returned a one-count indictment charging
  20   twenty four defendants, including Cota, with conspiracy to distribute methamphetamine. The
  21   indictment alleged that the defendants “knowingly and intentionally conspired together and
  22   with each other and with other persons known and unknown to the grand jury to distribute 50
  23   grams and more, to wit: approximately 2.87 kilograms (6.3 pounds) of methamphetamine
  24   (actual), a Schedule II Controlled Substance, in violation of Title 21, United States Code,
  25   Sections 841(a) (1) and 846.” (ECF No. 1 at 2).
  26           The investigation in this case began in September 2010 targeting subjects involved in
  27   smuggling large amounts of methamphetamine into the United States from Mexico. During
  28   the course of the investigation, the Government sought and received authorization to conduct


                                                         -1-                                11cr4153WQH
Case 3:11-cr-04153-WQH          Document 509       Filed 10/09/12    PageID.2014      Page 2 of 8



   1   electronic surveillance on a number of telephones used by the defendants and alleged co-
   2   conspirators. The initial application for an order authorizing the interception of wire
   3   communications was presented to the district judge in February 2011. Defendant Cota was
   4   intercepted between June 7, 2011 and September 25, 2011 pursuant to subsequent wiretap
   5   orders.
   6             On June 6, 2011, a wiretap application was made by the Assistant United States
   7   Attorney to the Honorable Janis Sammartino, United States District Court Judge to intercept
   8   communications on three phone lines including TT#14 used by Defendant Garcia. Defendant
   9   Cota was not named in the June 6, 2011 affidavit as a target subject but was subsequently
  10   intercepted over TT#14.
  11             On July 7, 2011, an order was signed by the Honorable Thomas Whelan, United States
  12   District Court Judge to intercept communications on phone TT#14 used by Defendant Garcia
  13   and phone TT#17 used by Defendant Cota.
  14             On July 13, 2011, an order was signed by the Honorable Janis Sammartino, United
  15   States District Court Judge to intercept communications on phone TT#18 used by Defendant
  16   Julie Peterson.
  17             On August 2, 2011, an order was signed by the Honorable Janis Sammartino, United
  18   States District Court Judge on a number of phone lines, including phone TT#17 used by
  19   Defendant Cota.
  20             On August 30, 2011, an order was signed by the Honorable Janis Sammartino, United
  21   States District Court Judge to intercept communications on a number of phone lines, including
  22   TT#29 used by Defendant Cota.
  23             The application for the wiretap orders at issue were supported by the Affidavit of
  24   Special Agent Jeffrey Grimming of the United States Department of Homeland Security and
  25   Immigration and Customs Enforcement.
  26                                CONTENTIONS OF THE PARTIES
  27             Defendant contends that the electronic interceptions were unlawful on the grounds that
  28   1) the applications for wiretap of the targeted phones lacked necessity, and 2) there is no


                                                      -2-                                    11cr4153WQH
Case 3:11-cr-04153-WQH         Document 509       Filed 10/09/12     PageID.2015       Page 3 of 8



   1   evidence that agents properly minimized the interceptions. The Government contends that
   2   each affidavit in support of the wiretap applications established necessity providing specific
   3   facts that detailed the progression of the investigation as a whole, as well as the success and
   4   limitations of traditional methods used during the investigation. The Government asserts the
   5   adequate minimization instructions were provided to the wiretap monitors and utilized in this
   6   case.
   7                                             ANALYSIS
   8   1. Necessity
   9           18 U.S.C. § 2518(3)(c) provides, in relevant part, that a judge may approve a wiretap
  10   if he or she “determines on the basis of the facts submitted by the applicant that ... normal
  11   investigative procedures have been tried and have failed or reasonably appear to be unlikely
  12   to succeed if tried or to be too dangerous....” 18 U.S.C. § 2518(3)(c). In order to obtain a
  13   wiretap, the application must provide “a full and complete statement as to whether or not other
  14   investigative procedures have been tried and failed or why they reasonably appear to be
  15   unlikely to succeed if tried or to be too dangerous.” 18 U.S.C. § 2518(1)(c). The purpose of
  16   this requirement is to “assure that wiretapping is not resorted to in situations where traditional
  17   investigative techniques would suffice to expose the crime.” United States v. Kahn, 415 U.S.
  18   143, 153 n.12 (1974). The government must overcome the statutory presumption against this
  19   intrusive investigative method by proving necessity. United States v. Rivera, 527 F.3d 891,
  20   897 (9th Cir. 2008); United States v. Blackmon, 273 F.3d 1204, 1207 (9th Cir. 2001).
  21           The review of the court “includes an assessment of whether the affidavit attests that
  22   adequate investigative tactics were exhausted before the wiretap order was sought or that such
  23   methods reasonably appeared unlikely to succeed or too dangerous.” United States v.
  24   Gonzales, 412 F.3d 1102, 1111 (9th Cir. 2005). The Court of Appeals has adopted a “common
  25   sense approach” in which the reviewing court uses a standard of reasonableness to evaluate the
  26   government’s good faith effort to use alternative investigative means or its failure to do so
  27   because of danger or low probability of success. Blackmon, 273 F.3d at 1207. In United
  28   States v. McGuire, 307 F.3d 1192 (9th Cir. 2002), the Court of Appeals explained that


                                                     -3-                                      11cr4153WQH
Case 3:11-cr-04153-WQH        Document 509        Filed 10/09/12    PageID.2016       Page 4 of 8



   1   “conspiracies pose a greater threat to society than individual actions toward the same end”
   2   when considering the statutory requirement of necessity under Section 2518(1)(c). Id. at 1197.
   3   The Court of Appeals stated:
   4          Conspiracies pose other special dangers. Unlike individual criminal action,
              which comes to an end upon the capture of the criminal, collective criminal
   5          action has a life of its own. . . . Reflecting this concern, we have consistently
              upheld findings of necessity where the traditional investigative techniques lead
   6          only to apprehension and prosecution of the main conspirators, but not to
              apprehension and prosecution of . . . other satellite conspirators. Because the
   7          government has a duty to extirpate conspiracy beyond its duty to prevent the
              mere commission of specific substantive offenses, we conclude that the
   8          government is entitled to more leeway in its investigative methods when it
              pursues a conspiracy.
   9
       Id. at 1197-98. (quotations and citation omitted).
  10
              In this case, Defendant asserts that this investigation was conducted into a local
  11
       methamphetamine organization and that the affidavits made an insufficient showing that
  12
       normal investigative procedures would fail. Defendant asserts that the affidavits in support of
  13
       the wiretap orders relied upon inherent limitations of traditional investigative techniques
  14
       without a showing that the traditional methods had been tried and failed. Defendant contends
  15
       that the June 7, 2011 affidavit was insufficient to establish necessity and that the subsequent
  16
       July 7, July 13, August 2, and August 30 affidavits relied upon an unlawful June 7 affidavit
  17
       and order. Defendant asserts that the July 7 affidavit described Defendant Cota as a “sub-
  18
       distributor for [defendant] PETERSON” and fails to show that normal investigative procedures
  19
       such as physical surveillance would not have been effective. Defendant further asserts that the
  20
       affiant failed to inform the district judge in the June 7 and the July 7 affidavits in support of
  21
       the wiretap applications that Defendant Zimmerman and Defendant Cota were on state parole
  22
       and had “fourth waivers” which would have allowed agents access to their residences.
  23
              The Government contends that the affidavits in support of the wiretap orders complied
  24
       with the requirements of Section 2518(1)(c). The Government asserts that each affidavit
  25
       provided specific facts that detailed the progression of the investigation as a whole, as well as
  26
       the successes and limitations of traditional methods used during the investigation. The
  27
       Government asserts that the Defendant Cota was not identified at the time of the June 7
  28
       affidavit and the affiant could not have included information regarding Cota’s fourth

                                                     -4-                                     11cr4153WQH
Case 3:11-cr-04153-WQH         Document 509        Filed 10/09/12     PageID.2017        Page 5 of 8



   1   amendment waiver in the June 7 affidavit. The Government further asserts that omission of
   2   Defendant’s Cota’s fourth-waiver status in the July 7 affidavit was not material because the
   3   June 7 affidavit and the July 7 affidavit discuss fourth amendment waiver searches of
   4   residences associated with Defendant Cota and explains to the issuing judge why this
   5   investigative method was not used in this case.
   6          In this case, the affiant details the goals of the investigation in the June 7, 2011
   7   affidavit. (ECF No. 497, Exhibit A).         The agent explains that a task force has been
   8   investigating the smuggling of large amounts of methamphetamine into the United States from
   9   Mexico and has identified sources of supply connected to two rival cartels. The agent sets
  10   forth the previous wiretap applications and the target subjects and seeks an order to intercept
  11   telephones for three of the target subjects who are involved in the importation and distribution
  12   of methamphetamine. Defendant Cota is not identified as a target subject. The necessity
  13   section of the June 7 affidavit sets forth in detail the specific facts detailing the progression of
  14   the investigation and discussed the successes and limitations of specific methods used during
  15   the investigation. The agent states that the task force has gathered substantial information
  16   regarding the criminal activity of the target subjects but has been unable to accomplish the
  17   goals of the investigation, including identifying target subjects; identifying specific, significant
  18   sources of supply; advancing the financial investigation into money laundering; and locating
  19   stash houses. The agent informed the issuing judge of the normal investigative techniques that
  20   have been used during the last period of interception, including administrative subpoenas,
  21   confidential sources, toll analysis, telephone records, cellular telephone tracking, and physical
  22   surveillance of locations on the United States. The agent states:
  23          [W]e have been unable to determine the precise nature of the relationships
              among the TARGET SUBJECTS. The interceptions requested offer the most
  24          promising method to fully understand the criminal relationships and criminal
              conduct of the TARGET SUBJECTS and others. Specifically, while we know
  25          . . . uses . . , to distribute methamphetamine in the United States, we have not
              been able to identify their respective distribution networks. We also have not
  26          been able to establish the contours of the relationship between . . . and . . . .
  27   (Exhibit A at 18).
  28          In the July 7, 2011 affidavit the affiant identifies the Defendant Cota as a target subject
       based upon interceptions of criminal communications involving Cota on GARCIA TT#14 and
                                                      -5-                                       11cr4153WQH
Case 3:11-cr-04153-WQH        Document 509       Filed 10/09/12     PageID.2018      Page 6 of 8



   1   seeks to intercept calls on COTA TT#17. The agent explains that they learned from the last
   2   30 days of interceptions over GARCIA TT#14 that Garcia works under Peterson to facilitate
   3   the distribution of methamphetamine to others, including Defendant Cota. The agent informed
   4   the judge:
   5          During the last period of interceptions we also identified COTA, a downstream
              distributor who receives methamphetamine from ANGEL through PETERSON
   6          and GARCIA. COTA, in turn, appears to have his own significant distribution
              network. For example, we learned that COTA has distributed marijuana, and
   7          pound-quantities of methamphetamine to . . . , one of the principal target
              subjects of a completely separate investigation.
   8
       (ECF No. 498, Exhibit B at 9). The agent stated: “Even with an extensive use of traditional
   9
       investigative techniques in conjunction with prior interceptions, we have yet to identify
  10
       significant participants in the criminal activity. . . or a single location being used to store
  11
       methamphetamine for more than very brief periods of time.” Id. at 10.
  12
              The agent details extensive facts which establish probable cause to believe that one of
  13
       more of the target subjects have committed, are committing and will continue to commit
  14
       criminal activity.   Id. at 10-18. The agent details the use or considered use of normal
  15
       investigative procedures and the limitation of each procedure in advancing the goals of the
  16
       investigation, including confidential sources, undercover agents, physical and video
  17
       surveillance, interviews, subpoenas and court orders, financial investigation, search warrants
  18
       and searches, trash searches, telephone toll analysis, tracking devices, mail covers, and other
  19
       wiretaps. Id. at 21-31. The agent explains that the investigation has used confidential
  20
       informants who can not provide additional information and “remain unwilling to testify in
  21
       court proceedings . . . out of concern for their own safety.” Id. at 22. The agent states that
  22
       undercover agents have no introduction and would be placed in serious jeopardy. The agent
  23
       details surveillance operations on four occasions in June 2011 and informed the judge that
  24
       physical surveillance without the aid of wiretaps has not been able to reveal the nature of what
  25
       transpired at meetings between target subjects. The agent explains that “searches and search
  26
       warrants have been utilized whenever this investigative technique could be employed without
  27
       jeopardizing the investigation.” Id. at 27. The agent provides details regarding a consent
  28
       search and a border search of target subjects during the month of June and discusses

                                                    -6-                                      11cr4153WQH
Case 3:11-cr-04153-WQH        Document 509       Filed 10/09/12     PageID.2019      Page 7 of 8



   1   “conducting a fourth-waiver search of the PETERSON FAMILY RESIDENCE based upon
   2   GARCIA’s suspected residence there and PETERSON’s probation status.” Id. at 28. The
   3   agent concluded that probation searches and trash searches are likely to have a chilling effect
   4   on the main targets, and that the opportunities for pretext searches are limited. Id.
   5          Based upon the facts set forth in the affidavits, the issuing judge reasonably concluded
   6   that the affiant made a showing that “ordinary investigative procedures, employed in good
   7   faith, would likely be ineffective in the particular case.” United States v. McGuire, 307 F.3d
   8   1192, 1196 (9th Cir. 2002). The affiant in this case did not rely upon conclusory statements
   9   and provides specific probative facts.1 The affiant detailed various investigative methods
  10   utilized in the investigation and explained the necessity to intercept wire communications in
  11   order to identify the source of narcotic suppliers and the sub-distributors and the location of
  12   the narcotics storage. The affiant provided detailed information regarding fourth amendment
  13   waiver searches of subjects associated with Defendant Cota and informed the issuing judge of
  14   reasons why fourth amendment waiver searches would not be effective in accomplishing the
  15   goals of the investigation. “[T]he necessity requirement is ... to be interpreted in a practical
  16   and commonsense fashion and need not therefore be used as a last resort.” United States v.
  17   Bailey, 607 F.2d 237, 241 (9th Cir. 1979); see also, United States v. Bennett, 219 F.3d, 1117,
  18   1121 (9th Cir. 2000) (wiretap applications established necessity where law enforcement was
  19   “unable ... to obtain information about the extended organization, such as other members,
  20   couriers, buyers, and suppliers.”); United States v. Torres, 908 F.2d 1471, 1422 (9th Cir. 1990)
  21   (“[T]he government need not exhaust every conceivable investigative technique in order to
  22   show necessity.”). The Court concludes that the affidavits in support of the applications at
  23   issue provided “a full and complete statement as to whether or not other investigative
  24   procedures have been tried and failed or why they reasonably appear to be unlikely to succeed
  25   if tried or to be too dangerous” in compliance with 18 U.S.C. § 2518(1)(c).
  26   2. Minimization
  27          Section 2518(5) requires that the Government conduct wire intercepts so as to
  28
              1
             There are no facts stated by the affiant which would require a hearing under Franks v.
       Delaware, 438 U.S. 154 (1978).
                                                   -7-                                   11cr4153WQH
Case 3:11-cr-04153-WQH        Document 509       Filed 10/09/12    PageID.2020      Page 8 of 8



   1   “minimize the interception of communications not otherwise subject to interception.” 18
   2   U.S.C. § 2518(5). The Government has the burden to show minimization. Torres, 908 F.2d
   3   at 1423. In Torres, the Court of Appeals explained:
   4          Minimization requires that the government adopt reasonable measures to reduce
              the interception of conversations unrelated to the criminal activity under
   5          investigation to a practical minimum while permitting the government to pursue
              legitimate investigation. The standard for minimization is reasonableness.
   6
       Id. (citations omitted). “The mere interception of calls unrelated to the drug conspiracy does
   7
       not indicate a failure to meet the minimization requirement.” Id.
   8
              In this case, the affidavits in support of the application for interception of wire
   9
       communications set forth the procedures for minimization. See Exhibit A at 31, Exhibit B at
  10
       34. Defendant provides no calls which Defendant assert should have been minimized and no
  11
       suggestion that any minimization procedure was inadequate. The record demonstrates that the
  12
       minimization efforts were reasonable and in accordance with 18 U.S.C. § 2518(5).
  13
                                             CONCLUSION
  14
              IT IS HEREBY ORDERED that the motion to suppress wiretap evidence, or in the
  15
       alternative, to request an evidentiary hearing filed by the Defendant Robert Cota, Jr. (ECF No.
  16
       290) is denied.
  17
       DATED: October 9, 2012
  18
  19                                               WILLIAM Q. HAYES
                                                   United States District Judge
  20
  21
  22
  23
  24
  25
  26
  27
  28


                                                    -8-                                     11cr4153WQH
